              Case 8:16-cv-02605-SDM-CPT Document 1-1 Filed 09/08/16 Page 1 of 1 PageID 38
JS44 (Rev.1l/15)                                                                            CIVIL COVER SHEET


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I. (a) PLAINTIFFS                                                                                          DEFENDANTS

EILEEN NECE, on behalf of herself and all others similarly situated,                                            QulcKEN LOANS, lNC.


   (b) County of Residence of First Listed Plaintiff               Pinellas Coun               Florida            County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PIAINTIFF CASES)                                                                                    (lN U.S. PIAINTIFF CASES ONLY)
                                                                                                                  NOTE:        IN LAND CONDEMNATION CASES, USE THE LCX=ATION OF
                                                                                                                              THE TRACT 0F LAND INVOLVED.


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Tampa, Florida 33634 (813) 888-6700


11. BASIS OF JURISDICTION /P/ace aw "Jr" i# o#e Bow o#/»                                            Ill. CITIZENSHIP OF PRINCIPAL PARTIES /P/ace aw "Jr" in one Bow/orp/ai#/igr
                                                                                                              ITor Diversity cases only)                                                and one Bar f tor Def endanl)
D I    U.S. Government                2f 3     FederalQuestion                                                                             PTF        DEF                                                 P'I`F     DEF
          Plaintiff                               /I/.S. Govemmenl jvo/ a paro!/                         CitizenofThisstate                D     I          01   lncorporatedorpTincipalplace             0   4     0 4
                                                                                                                                                                    of Business ln This State


0 2    U,S.Goverlunent                I 4     Diversity                                                  CitizenofAnotherstate             I 2          I    2   Incorporatedandprincipalplace            I     5   t] 5
          DeGendan\                                 qndicale clllzenship of parties ln Item Ill)                                                                    of Business ln Another State

                                                                                                         Citizen or Subject of a           I 3          0    3   ForeignNation                            0606


IV. NATURE 0F SUIT /P/ace on ..Jr" in One Box Only)
                                                                                                                                                            BANmupTCJy                       OTHER sTATurEs
                                       PERSONAL INJURY                     PERSONAL INJURY               0 625 Drug Related Seizure              I 422 Appeal 28 USC 158                I 375 False Claims Act
D Ilo Insurance
                                0 310 Airplane                         0 365 Personal Injury -                 of property 21 USC 881            I 423 Withdrawal                       D 376 Qui Tan (31 USC
I 120Manne
                                                                              Product Liabil ity         0 690 Oner                                         28 USC 157                         3729(a))
• 130MillerAct                  0 315 Airplane Product
                                      l'iability                       0 367 Health Care/                                                                                               9 400 State Reapportionment
0 140 Negotiable lnstrunenl
                                0 320 Assault, Libel &                         Phanaceutical                                                                                            0 410 Antitrust
0 150 Reeovery of overpayment
                                       Slander                               Personal Injury                                                     I 820 Copynghts                        0 430 Banks and Banking
      & Enforcement of Judgment
                                0 330 Federal Employers'                     Product Liability                                                   0 830 Patent                           0 450 Commerce
0151 Medicare Act
                                       Liability                       0 368 Asbestos Personal                                                   I 840 Trademark                        I 460 Deportation
0 152 Recovery of Defaulted
                                                                              Injury Product                                                                                            I 470 Racketeer Influenced and
      Student Loans             D 340 Marine
                                                                                Liability                                                                                                     Corrupt Organization s
        (Excludes Veterans)          I 345 Manne Product
                                              Liability                  PERSONA L PROPERTY I 710 Fair Labor Standai.ds                          D 861 HIA (1395ff)                     D 480 Consumer credit
I 153 Reeovery of overpayment
                                                                       I 370 Oner Fraud                          Act                             I 862 Black Lung (923)                 0 490 Cable/Sat TV
      of Veteran ' s Benefits        0 350 Motor Vehicle
                                                                       D 371 Truth in Lending            0 720 Labor/Management                  a 863 Dlwcmlww (4o5(g))                I 850 Securities/Commodities/
0 160 Stcokholders' Suits            0 355 Motor Vehicle
                                                                       0 380 0thel. Personal                     Relations                       D 864 SSID Title XVI                          Exchange
I 190 Other Contract                         Product Liabil ity
                                                                             Property Damage             I 740 Railway Labor Act                 D 865 RSI (405(g))                     C* 890 Other Statutory Act]ons
• 195 Contract Product Liability     I 360 Other Personal
                                                                       0 385 Property Damage             I 751 Family and Medical                                                       0 891 Agricultural Acts
0 196 Franchise                            Injury
                                                                                Product Liability               Leave Act                                                               0 893 Environmental Matters
                                     0 362 Personal Injury -
                                           Medical Mat                                                   0 790 Other Labor Litigation                                                   0 895 Freedom of lnfomation
                                                                                                         0 791 Employee Retirement                    REDERALTAX                                Act
                                                                          Habcas Corpus:                         Income SecuTity Act             0 870 Taxes (U.S. Plaintiff            D 896 Arbitration
 0 210 Land Condemnation             I 440 Other Civil fights
                                                                       I 463 Alien Detainee                                                            or Defendant)                    I 899 Administrative Procedure
 I 220 Foreclosure                   0 441 Voting
                                                                       0 510 Motions to Vacate                                                   0 871 lRS-Third Party                         ActReview or Appeal of
 0 230 Rent Lease & Ejectment        0 442 Employment
                                                                             Sentence                                                                       26 USC 7609                        Agency Decision
 I 240 Torts to Land                 I 443 HOusinoJ
                                                                       0 530 General                                                                                                    I 950 Constitutionality of
 I 245 Tort Product Liability                Accormodations
                                                                                                                 LMMIGRArmN                                                                    State Statutes
 0 290 All Other Real Property       I 445 Amer. w/Disabilities        0 535 Death Penalty
                                           Employment                                                    0 462 Naturalization Application
                                     0 446 Amer. w/Disabilities         • 540 Mandamus & Other           0 465 Other lnmgration
                                           Other                        D 550 Civil RIghts                       Actlons
                                     0 448 Education                    0 555 Prison Condition
                                                                        I 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

 V. ORIGIN ¢/ace a# "X" in owe Box on/}!/
                         Removed from                       I 3      Remanded from                  0 4 Reinstatedor          D 5 Transferred from               C] 6     Multidistrict
     Pro€eeding          State court                                 Appel late coot                     Reopened                  &#oc#;I D I strict                     Lltigati on

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 VI. CAUSE OF ACTION
                                            i[|'688Rstc6`Petb°hno°ieca#aerassmentoftheplaintiff(s)bytheDefendant
 V]]. gFo3rpELSAT[E¥:]N              B CuHNEDCER [RFUTLHE[2j:FARCcLVApSS Aer[°N                                    DEVAND S                                      :H::KD:£oNn:y:lfdemandyeedsm coomp*:int




                                                                                 APPLYING IFP                                                                              MAG. JUDGE
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